









Dismissed and Memorandum Opinion filed January 12, 2006









Dismissed and Memorandum Opinion filed January 12,
2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-01201-CR

____________

&nbsp;

JEREMY MICHAEL
GRAY, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
351st District Court

Harris County,
Texas

Trial Court Cause No. 1030128

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to possession with intent to
deliver between four and 200 grams of cocaine.&nbsp;
In accordance with the terms of a plea bargain agreement with the State,
the trial court sentenced appellant on November 11, 2005, to confinement for
eight years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a pro se notice
of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).&nbsp; The record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 12, 2006.

Panel consists of Chief Justice
Hedges and Justices Yates and Anderson. 

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





